                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  OWENSBORO DIVISION

  In re:                                             Case No. 19-40608
  Burlington Civil, Inc.,                            Chapter 7
           Debtor.
                                                     Hon. Thomas H. Fulton

                            JOINT EXPEDITED MOTION FOR
                   RELIEF FROM AUTOMATIC STAY AND ABANDONMENT

THIS OMNIBUS MOTION SEEKS RELIEF FROM STAY AS TO CERTAIN
CONSTRUCTION CONTRACTS AND ABANDONMENT OF SUCH CONTRACTS.
PARTIES RECEIVING THIS OMNIBUS MOTION SHOULD LOCATE THEIR NAMES
AND THEIR RESPECTIVE CONSTURCTION AGREEMENT ON EXHIBIT A
ATTACHED TO THIS MOTION.
       Harry L. Mathison, the duly appointed chapter 7 Trustee in this case (the “Trustee”) and

Great American Insurance Company (“Great American”) by counsel, hereby move this Court (this

“Motion”) for an order granting Great American relief from the automatic stay and to approve the

abandonment of those certain contracts (including all amendments and/or modifications thereto)

identified on Exhibit A (the “Project Contracts”) and certain other relief on the following grounds:

              I.      JURISDICTION, VENUE AND STATUTORY PREDICATES
       This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). Venue is proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for relief requested are

sections 362 and 554 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the

“Bankruptcy Code”) and Rules 4001 and 6007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

                                    I I . I NT RO DUCT I O N
       On July 12, 2019 (the “Petition Date”), Burlington Civil, Inc. (the “Debtor”) filed a

voluntary petition for relief under chapter 7 of the Bankruptcy Code. The Trustee was appointed
interim trustee in the Debtor’s bankruptcy case on July 29, 2017, pursuant to section 701(a)(1) of

the Bankruptcy Code.

       Great American was, and is, the Debtor’s pre-petition surety on the Projects (as defined

below). Great American, the Debtor, John Scheithe, and Angela Scheithe are party to an

Agreement of Indemnity dated April 23, 2019. Great American and AKS Holdings, LLC together

with the Debtor, John Scheithe and Angela Scheithe, collectively, the “Indemnitors”) are party to

an Agreement of Indemnity Rider, dated April 23, 2015. Pursuant to the Agreement of Indemnity

and the Agreement of Indemnity Rider, the Indemnitors induced Great American to issue the

Bonds (defined below). Great American issued performance bonds and payment bonds in various

penal sums set forth on Exhibit A (each a “Bond” and collectively, the “Bonds”) relating to the

projects described on Exhibit A (each a “Project” and collectively, the “Projects”), which are

subject to the Project Contracts with various local governments or governmental entities each

described on Exhibit A (each an “Owner” and collectively, the “Owners”). In the aggregate, the

original penal sum of all of the Bonds exceeds $7,836,907.

       The Debtor was a general contractor, which entered into the Project Contracts with the

Owners to construct the Projects. The Projects are public projects, owned by local governments or

governmental entities in Kentucky and Utah.

       The Projects are in various states of completion, with work on some of the Projects having

commenced just prior to the Petition Date, and one or more which are merely subject to punch list

items for completion. Many of the Project Contracts have completion deadlines and the Debtor

was obligated to deliver such Projects in a timely basis or face the imposition of liquidated

damages. Great American received no prior notice of the Debtor’s chapter 7 filing (or intent to

file) and learned of the filing from the Owners. The Debtor stopped work on the Projects prior to

the Petition Date.



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       Since the Trustee’s appointment, Great American, the Trustee, and the Debtor have worked

and still work diligently and cooperatively to mitigate the claims of all creditors relative to the

Projects. Great American has provided the Trustee with current information with respect to the

Projects, unpaid subcontractors, suppliers, and potential claimants.

       The Project Contracts are executory under section 365 of the Bankruptcy Code. The

Trustee has consulted with the Debtor and Great American and believes, in his business judgment,

that with respect to each Project Contract, the cost of completion of each Project Contact exceeds

the value that the estate would receive. The Trustee has therefore determined, in the exercise of

his business judgment abandon the Project Contracts and to grant Great American relief from the

automatic stay as provided below.

                                  III. RELIEF REQUESTED

       Concurrently with the fling of this Motion, the Trustee and Great American are filing a

Joint Expedited Omnibus Motion to Authorize Trustee’s Rejection of Project Contracts (the

“Rejection Motion”). Pursuant to the Rejection Motion, the Trustee and Great American seek this

Court’s approval of the Trustee’s rejection of the Project Contracts. Pursuant to this Motion,

Trustee and Great American request that the Court enter an order, pursuant to sections 362 and

353 of the Bankruptcy Code and Bankruptcy Rules 4001 and 6007 abandoning the Project

Contracts, and providing Great American relief from the automatic stay, each as described below.

       Upon the rejection of the Project Contracts pursuant to the Rejection Motion, Great

American will need to interface with the Owners with respect to the Projects. In connection with

these efforts, finishing the Projects will require the Project Proceeds (defined below) be put toward

the completion of the projects and the payment of claims to suppliers and subcontracts under the

Bonds. The Trustee and Great American request that this Court grant stay relief so that Great




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American can enforce its rights and remedies including, but not limited to, equitable subrogation

remedies, with respect to the Bonds, the Indemnity Agreement and the Projects to facilitate

completion of each of the Projects. The Trustee and Great American finally request that this Court

approve the Trustee’s abandonment of this chapter 7 estate’s interests in the Project Contracts.

                         IV.     GROUNDS FOR GRANTING RELIEF

       With respect to relief from stay and abandonment, stay relief is appropriate to facilitate

completion of the Projects given that the delays and/or the Debtor’s failure to maintain the Projects

may negatively impact the life, safety, and public welfare at each of the Projects.

       Section 362(d)(1) of the Bankruptcy Code provides that a creditor may obtain relief from

the automatic stay for cause, including the lack of adequate protection of a creditor’s interest in

property of the estate. 11 U.S.C. 362(d)(1). Section 362(d)(2) of the Bankruptcy Code permits

relief from the automatic stay if the debtor has no equity in the property and the property is not

necessary to an effective reorganization. 11 U.S.C. 362(d)(2).

       “Cause” exists for relief from the automatic stay pursuant to § 362(d)(1) because the Debtor

has ceased operations and terminated substantially all of its employees. Further, upon information

and belief, the Debtor has no ability or intention to complete the Projects and is not involved in

maintaining or securing the Projects or otherwise addressing the critical life safety issues at each

of the Projects. Granting Great American relief from the automatic stay will allow Great American

to assist the Owners and contractors in safeguarding the public at each of the Projects. See In re

Hallwood Energy, L.P., 09-31253-11, 2009 WL 1917418, *6 (Bankr. N.D. Tex. July 1, 2009)

(finding health and safety concerns constituted “cause” for modification of the automatic stay).


       Moreover, Great American is entitled to relief from the automatic stay pursuant to 11

U.S.C. § 362(d)(2) because the Debtor has no equity in any of the Projects and the Projects are not



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necessary for an effective reorganization. This is a chapter 7 case and the Trustee has no ability or

intention to complete the Projects. As a result, the Projects are not “necessary to an effective

reorganization,” and modification of the automatic stay to permit Great American to coordinate

completion of the Projects is warranted.

       Great American holds a right of equitable subrogation with respect to funds paid to the

Debtors on account of the Projects, unpaid progress payments, retainage, and any other proceeds

of the Projects (collectively, the “Project Proceeds”). See Pearlman v. Reliance Ins. Co., 371 U.S.

32 (1962). See also, National Fire & Ins. Co. v. Padula Constr. Co., Inc. (In re Padula Const. Co.,

Inc.), 118 B.R. 143, 145-146 (Bankr. S.D. Fla. 1990) (“A surety is subrogated not only to the

subcontractors and material men paid with its proceeds, but also to the contractor for whom the

surety was issued, as well as, the beneficiary of the surety and [others].”); In re Alcon Demolition,

Inc., 204 B.R. 440, 446 (Bankr. D.N.J. 1997) (“The equitable effect of subrogation is to insure that

the subrogee, who had no choice but to perform his duties, will be compensated through the

exercise of the subrogor’s rights.”). Accordingly, to the extent necessary, Great American should

be granted relief from the automatic stay to protect and enforce its equitable subrogation rights,

including, without limitation, to use the Project Proceeds to facilitate the completion of the Projects

and to exercise any and all setoff rights of the Owners.

       Without limiting the foregoing, the parties request that such stay relief include the right for

Great American to take action with respect to the Project Contracts, including but not limited to

the right to request that the Owners make the Project Proceeds available to pay for performance

under the Project Contracts. The Trustee has consented to this relief and it should be approved.

       The Project Contracts and the estate’s rights under the Project Contracts are burdensome

to the estate and this Court should approve the Trustee’s request to abandon the Project Contracts.




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        WHEREFORE, the Trustee and Great American respectfully request entry of an Order:

(a) granting Great American stay relief as provided herein, (b) approving the Trustee’s

abandonment of the Project Contracts, and (c) granting the Trustee and Great American all other

just and proper relief.

                                           Respectfully submitted,


                                           /s/ Harry L. Mathison
                                           Harry L. Mathison
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                                           Henderson, KY 42420
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                                           e-mail: hmathison@kdblaw.com
                                           Chapter 7 Trustee




                                           /s/ Edward M. King
                                           Edward M. King
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                                           Louisville, KY 40202
                                           Telephone: (502) 589-5400
                                           Facsimile: (502) 581-1087
                                           e-mail: tking@fbtlaw.com
                                           Attorneys for Great American Insurance Company




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth on the margin above, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which will serve notice on all parties registered
to receive notice in this case. In addition, I certify that I served a copy of the foregoing upon the addresses
set forth on Exhibit A by U.S. Mail, postage prepaid on the date set forth in the margin above.




                                                           /s/ Edward M. King
                                                           Edward M. King

FROST BROWN TODD LLC
400 W. Market Street, 32nd Floor
Louisville, Kentucky 40202
(502) 589-5400
Counsel for Great American Insurance Company
                                           EXHIBIT A


 Owner                               Project                                       Bond Amount
 Regional Water Resource Agency      Southwest Master Pump Station and Force       $2,557,902.00
 Attn: President                     Main Contract No. 1
 1722 Pleasant Valley Road
 Owensboro, KY 42303
 City of Hawesville, Kentucky        Wastewater Treatment Plant Expansion          $2,589,500.00
 Attn: Mayor
 395 Main Street
 Hawesville, KY 42348
 Commonwealth of KY Finance and      RFB-45-19 Engagement Skills Training          $739,500.00
 Administration Cabinet              Facility, Wendell H. Ford Regional Training
 Bush Building 1st Floor             Center
 403 Wapping Street
 Frankfort, KY 40601
 Nomlaki Technologies, LLC           Subcontract Agreement #E00410902 Design       $229,700.00
 Attn: President                     & Repair of Facility 9112 - Standiford ANG,
 10824 Gulfdale St.                  KY
 San Antonio, TX 78216
 Granger-Hunter Improvement          18C: Meter 80 Piping & Breeze Chemical        $822,918.75
 District                            Feed
 Attn: President
 2888 South 3600 West
 West Valley City, UT 84119
 City of Orem, Utah                  2018 Sump Rehabilitation Project              $369,787.00
 Attn: Mayor 56 North State Street
 Orem, UT 84057
 Owensboro Riverport Authority       RFP- 20018 Installation of Mechanical         $527,600.00
 Attn: President                     Conveying Equipment
 1771 River Road
 Owensboro, KY 42304




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